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      Federal Defender
 2    Lexi Negin, Bar #250376
      Assistant Federal Defender
 3    801 I Street, 3rd. Floor
      Sacramento, California 95814
 4    Telephone: (916) 498-5700
 5    Attorney for Defendant
      KURT GERARD ENGELHARDT
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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,             )             CASE NO. CR-S-09-00195 FCD
                                            )
12                      Plaintiff,          )
                                            )             STIPULATION AND ORDER TO CONTINUE
13          v.                              )             STATUS HEARING AND TO EXCLUDE TIME
                                            )             PURSUANT TO THE SPEEDY TRIAL ACT
14                                          )
      KURT GERARD ENGELHARDT,               )
15                                          )
                        Defendant.          )
16    _____________________________________ )
17          This case is currently scheduled for a status hearing on December 14, 2009. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for December 14, 2009, be continued until February 8, 2010, at 10:00 a.m.. In
22   addition, the parties stipulate that the time period from December 14, 2009, to February 8, 2010, be
23   excluded from computation of time within which the trial of this matter must be commenced under the
24   Speedy Trial Act (18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4), due to the need to provide
25   defense counsel with the reasonable time to prepare. Specifically, defense counsel desires time to
26   negotiate a resolution of this case and time to explain the ramifications of any such proposed resolution to
27   defendant.
28   ///
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 1
     DATED: December 10, 2009
 2
 3                       Respectfully submitted,
 4   BENJAMIN B. WAGNER                              DANIEL BRODERICK
     United States Attorney                          Federal Defender
 5
 6
     By: /s/ Lexi Negin for                           /s/ Lexi Negin
 7         SAMUEL WONG                               LEXI NEGIN
           Assistant U.S. Attorney                   Assistant Federal Defender
 8         Attorney for the                          Attorney for Kurt Gerard Engelhardt
           United States of America
 9
10         IT IS SO ORDERED.
11   DATED: December 10, 2009
12                                                 _______________________________________
                                                   FRANK C. DAMRELL, JR.
13                                                 UNITED STATES DISTRICT JUDGE
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